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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS


LORI GILKER, individually and on behalf of all
others similarly situated,

                            Plaintiff,                   STIPULATION OF VOLUNTARY
                                                         DISMISSAL
                -against-
                                                         Case No. 3:21-cv-488
CHOBANI, LLC,

                            Defendant,



       IT IS HEREBY STIPULATED AND AGREED by and between the parties, through their

undersigned counsel, that the above-captioned action is voluntarily dismissed in its entirety, with

prejudice against Defendant Chobani, LLC pursuant to the Federal Rules of Civil Procedure

41(a)(1)(A)(ii), with each party bearing its own costs, expenses, and attorney’s fees.


Dated: New York, New York
         December 16, 2021

 SHEEHAN & ASSOCIATES, P.C.                          HEPLERBROOM LLC



 /s/ Spencer Sheehan                                 /s/ Troy A. Bozarth
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                                       Attorneys for Chobani, LLC


SO ORDERED:


_________________________________
HONORABLE DAVID W. DUGAN
UNITED STATES DISTRICT JUDGE
